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                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                          CASE NO. 11CR5484-DMS

                           Plaintiff,
                 vs.                                      JUDGMENT OF DISMISSAL
                                                          (Rule 48, F.R.Crim.P.)
MICHAEL CASTANEDA,

                           Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

-K-   the Court has granted the motion of the Government for dismissal; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

-K-   of the offense(s) as charged in the Information:



      21:952 and 960 - Importation of marijuana (Felony)


      IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED:    12/1/11

                    FILED
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                                                   UNITED STATES MAGISTRATE JUDGE

                     DEC -1 2011     I
               CLERK, u.s. DISTRICT COURT
                                                     ENTERED ON
            SOUTHERN D STRICT OF CALIf'ORNIA
            BY                        DEPUTY
